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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
HASSAN CHUNN; NEHEMIAH McBRIDE;
AYMAN RABADI by his Next Friend Migdaliz
Quinones; and JUSTIN RODRIGUEZ by his Next                  No. 20 Civ. 1590
Friend Jacklyn Romanoff,
                                                            CLASS ACTION PETITION
individually and on behalf of all others similarly          SEEKING WRIT OF
situated,                                                   HABEAS CORPUS
                                                            UNDER 28 U.S.C. § 2241
                        Petitioners,

                -against-

WARDEN DEREK EDGE,

                       Respondent.


       Hassan Chunn, Nehemiah McBride, Ayman Rabadi, and Justin Rodriguez

(“Petitioners”), on behalf of themselves and others similarly situated, and by and through their

attorneys, Emery Celli Brinckerhoff & Abady LLP, the Cardozo Civil Rights Clinic, and

Alexander A. Reinert, allege as follows:

                                PRELIMINARY STATEMENT

       1.      New York City is the epicenter of the Country’s struggle with the novel COVID-

19 virus and resulting coronavirus disease (“COVID-19”). As this disease ravages our City,

infecting more than 25,000 and killing over 366 to date, the risks posed by COVID-19 to people

confined in jails and prisons—in terms of transmission, exposure, and harm—are stark and

alarming. For reasons beyond their control, people in jails and prisons cannot practice social

distancing, control their exposure to large groups, practice increased hygiene, wear protective

clothing, obtain specific products for cleaning or laundry, avoid high-touch surfaces, or sanitize

their own environment. People in jails and prisons are more vulnerable and susceptible to the

risks of coronavirus because they are more likely to have chronic underlying health conditions,
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such as diabetes, heart disease, chronic lung and liver diseases, asthma, and lower immune

systems from HIV. People have limited opportunities to access medical care under normal

circumstances in jails; medical facilities are limited, and as staff become sick, fewer people are

present to care for those who remain confined. The outbreak of a highly infectious, deadly virus

in a closed detention setting is a disaster, calling for urgent and decisive action to protect the

health of those confined in the jail, those who work there, and the medical professionals who will

treat those who become infected.

       2.      Five days ago, a person jailed at the Metropolitan Detention Center (“MDC”) in

Brooklyn, New York tested positive for COVID-19, the first coronavirus case of a detainee in

the federal prison system. As of March 26, 2020, four people in BOP custody in New York City,

including one at the MDC, have tested positive. At least four staff members at the MDC have

tested positive, with two staff-member cases reported just today. The coronavirus is spreading in

the MDC and federal BOP system, fast.

       3.      Unfortunately, the Warden of the MDC has failed to respond to the urgent and

serious threat to the health of people confined at the MDC. Although the Warden has identified

that 537 medically vulnerable individuals are confined in his facility according to CDC

guidelines, the Warden has failed to release these most vulnerable individuals. Instead, the

facility has acted at a slow pace to respond to requests for emergency compassionate relief and to

take other measures appropriate for a public health crisis.

       4.      Petitioners Hassan Chunn, Nehemiah McBride, Ayman Raybadi, and Justin

Rodriguez are four of the 537 individuals confined at the MDC who face an imminent risk of

serious injury or death at the MDC if exposed to COVID-19. Petitioners suffer variously from

conditions such as chronic heart disease, asthma, high blood pressure, and respiratory problems.



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Because of their pre-existing chronic medical conditions and the nature of the jail environment,

Petitioners cannot be adequately protected from contracting COVID-19 if they remain confined

in the MDC. Instead, they face a risk of serious illness if they become infected.

        5.       The MDC has a terrible track record of neglecting individuals with serious health

needs under ordinary circumstances. And the MDC is grossly ill-equipped to identify, monitor,

and treat a COVID-19 epidemic. The combination of an epidemic striking a facility that houses

1,700 people and the MDC’s inability to provide appropriate medical care under normal

circumstances is likely to result in serious illness and death, if people remain confined there at

current population levels and under current conditions.

        6.       According to the The New York Times, cities around the country, including New

York, are moving to release hundreds of high-risk individuals from jail to stem the spread of the

virus among the incarcerated. Courts in this Circuit and around the country have also ordered the

release of incarcerated and detained individuals due to their heightened risk of contracting

COVID-19-related serious illnesses. See infra n.21. New York State announced this evening that

it is releasing 1,100 people from state prisons who are incarcerated on parole violations.1

        7.       Petitioners and similarly situated medically vulnerable individuals must be

released from the MDC in order to avoid serious harm to their health. Now is the time to act to

stop the spread of coronavirus to high-risk and older people confined at the MDC, and to protect

them and the broader community from the serious risk to their health and safety.




1
  Brendan J. Lyons, NY to release 1,100 parole violators as coronavirus spreads, Times Union (Mar. 27, 2020),
https://www.timesunion.com/news/article/Deaths-surge-again-in-New-York-from-coronavirus-15160973.php.

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                                             PARTIES

       8.      Petitioner Hassan Chunn is a 46-year-old man who currently resides in Kings

County, New York. At all times relevant to this Complaint, Mr. Chunn was in the custody of the

Federal Bureau of Prisons (“BOP”) at the MDC.

       9.      Petitioner Nehemiah McBride is a 34-year-old man who currently resides in

Kings County, New York. At all times relevant to this Complaint, Mr. McBride was in the

custody of BOP at the MDC.

       10.     Petitioner Ayman Rabadi is a 59-year-old man who currently resides in Kings

County, New York. At all times relevant to this Complaint, Mr. Rabadi was in the custody of

BOP at the MDC.

       11.     Petitioner Justin Rodriguez is a 26-year-old man who currently resides in Kings

County, New York. At all times relevant to this Complaint, Mr. Rodriguez was in the custody of

BOP at the MDC.

       12.     Derek Edge (“Respondent”) is the Warden at the MDC. As Warden of the MDC,

Respondent Edge is responsible for and oversees all day-to-day activity at the MDC. He is

responsible for all aspects of the operation and function of the MDC. His responsibilities include

ensuring the safety of all in the institution and ensuring the orderly running of the institution.

Approximately 1,700 people are detained at the MDC. Respondent Edge is aware of and has

adopted and enforced a policy that leaves Petitioners and all those similarly situated exposed to

infection, severe illness, and death due to COVID-19. Defendant Edge is the immediate physical

custodian responsible for the detention of the Petitioners. He is sued in his official capacity.




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                                 JURISDICTION AND VENUE

       13.     The Petitioners bring this action pursuant to 28 U.S.C. § 2241 for relief from

custody in violation of the Fifth and Eighth Amendments to the U.S. Constitution.

       14.     The Court has subject matter jurisdiction over this Petition pursuant to Article I, §

9, cl. 2 of the U.S. Constitution (Suspension Clause); the Fifth and the Eighth Amendments to

the U.S. Constitution; 28 U.S.C. § 1331 (federal question); 28 U.S.C. § 1651 (All Writs Act);

and 28 U.S.C. § 2241 (habeas corpus). In addition, the Court has jurisdiction to grant declaratory

and injunctive relief pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201.

       15.     Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events and omissions giving rise to these claims

occurred and continue to occur in this district.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       16.     Petitioners are all excused from 28 U.S.C. § 2241’s prudential exhaustion

requirement. The statutory exhaustion requirement of the Prison Litigation Reform Act does not

apply to this action. Carmona v. U.S. Bureau of Prisons, 243 F.3d 629, 634 (2d Cir. 2001). In

cases brought under 28 U.S.C. § 2241, courts may excuse failure to strictly comply with

administrative procedures where good cause is found. Exhaustion can be excused where “‘(1)

available remedies provide no genuine opportunity for adequate relief; (2) irreparable injury may

occur without immediate judicial relief; (3) administrative appeal would be futile; and (4) in

certain instances a party has raised a substantial constitutional question.’” Sanchez v. United

States, No. 12 Civ. 01540 (CBA), 2012 WL 5987858, at *1 (E.D.N.Y. Nov. 29, 2012) (quoting

Beharry v. Aschcroft, 329 F.3d 51, 62 (2d Cir. 2003).

       17.     The only process ostensibly available to Petitioners is the BOP’s Administrative

Remedy Program (“ARP”), a lengthy process that does not purport to provide the requested
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relief of release to home confinement and that here would have been futile. See Ex. 1,

Declaration of Deirdre von Dornum, dated March 27, 2020, ¶¶ 22, 23 (“von Dornum Decl.”). As

Deirdre von Dornum explains in her declaration, the Federal Defenders of New York, Inc. (“the

Federal Defenders”) has engaged in a weeks-long effort to secure release of vulnerable clients

and to advocate for the MDC to take steps to mitigate risk. Id. ¶¶ 3-7, 9-11, 20, 21, 23. The MDC

has had ample opportunity to take appropriate action, but has failed to do so. Because the ARP

does not provide the requested relief, because engaging in the ARP would have been futile given

that seasoned advocates with far greater resources could not secure the requested relief, and

because Petitioners are likely to experience irreparable injury while waiting for that process to

unfold, they are excused from exhaustion.

                                      STATEMENT OF FACTS

I.      The Covid-19 Crisis

        18.     The novel coronavirus that causes COVID-19 has led to a global pandemic.2 As

of March 26, 2020, there were more than 500,000 reported COVID-19 cases throughout the

world and more than 1,000 deaths in the United States. The number of COVID-19 cases in the

United States is expected to grow exponentially. Projections by the Centers for Disease Control

and Prevention (“CDC”) indicate that over 200 million people in the United States could be

infected with COVID-19 over the course of the epidemic without effective public health

intervention, with as many as 1.5 million deaths in the most severe projections.3




2
  Betsy McKay et al., Coronavirus Declared Pandemic by World Health Organization, WALL ST. J. (Mar. 11,
2020, 11:59 PM), https://www.wsj.com/articles/u-s-coronavirus-cases-top-1-000-11583917794.
3
 Chas Danner, CDC’s Worst-Case Coronavirus Model: 214 Million Infected, 1.7 Million Dead, N.Y. Mag. (Mar.
13, 2020), https://nymag.com/intelligencer/2020/03/cdcs-worst-case-coronavirus-model-210m-infected-1-7m-
dead.html.

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        19.      The COVID-19 virus can cause severe damage to lung tissue, sometimes leading

to a permanent loss of respiratory capacity, and can damage tissues in other vital organs,

including the heart and liver. To date, the virus is known to spread from person to person through

respiratory droplets, close personal contact, and from contact with contaminated surfaces and

objects.

        20.      People over the age of fifty face greater chances of serious illness or death from

COVID-19. In a February 29, 2020 WHO-China Joint Mission Report, the preliminary mortality

rate analyses showed that individuals age 60-69 had an overall 3.6% mortality rate and those 70-

79 years old had an 8% mortality rate. For individuals age 40-49, the mortality rate was 0.4%,

and for individuals 40 years and younger, the mortality rate was as low as 0.2%.4

        21.      People of any age who suffer from certain underlying medical conditions,

including lung disease, heart disease, chronic liver or kidney disease (including hepatitis and

dialysis patients), diabetes, epilepsy, hypertension, compromised immune systems (such as from

cancer, HIV, or autoimmune disease), blood disorders (including sickle cell disease), inherited

metabolic disorders, stroke, developmental delay, and asthma, are at elevated risk as well.5 The

WHO-China Joint Mission Report provides that the mortality rate for those with cardiovascular

disease was 13.2%, 9.2% for diabetes, 8.4% for hypertension, 8.0% for chronic respiratory

disease, and 7.6% for cancer.6


4
 Age, Sex, Existing Conditions of COVID-19 Cases and Deaths Chart,
https://www.worldometers.info/coronavirus/coronavirus-age-sex-demographics/ (data analysis based on WHO-
China Joint Mission Report).
5
 Coronavirus disease (COVID-19) advice for the public: Myth busters, World Health Organization,
https://www.who.int/emergencies/diseases/novel-coronavirus-2019/advice-for-public/myth-busters (“Older people,
and people with pre-existing medical conditions (such as asthma, diabetes, heart disease) appear to be more
vulnerable to becoming severely ill with the virus.”).
6
  Report of the WHO-China Joint Mission on Coronavirus Disease 2019 (COVID-19), World Health Organization
(Feb. 28, 2020), at 12, https://www.who.int/docs/default-source/coronaviruse/who-china-joint-mission-on-covid-19-
final-report.pdf (finding fatality rates for patients with COVID-19 and co-morbid conditions to be: “13.2% for those

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        22.      In many people, COVID-19 causes fever, cough, and shortness of breath. But for

people over the age of fifty or with medical conditions that increase the risk of serious COVID-

19 infection, shortness of breath can be severe. Most people in higher risk categories who

develop serious illness will need advanced support. This level of supportive care requires highly

specialized equipment that is in limited supply, and an entire team of care providers, including

1:1 or 1:2 nurse to patient ratios, respiratory therapists, and intensive care physicians.

        23.      COVID-19 can severely damage lung tissue, which requires an extensive period

of rehabilitation, and in some cases, can cause a permanent loss of respiratory capacity. COVID-

19 may also target the heart muscle, causing a medical condition called myocarditis, or

inflammation of the heart muscle. Myocarditis can affect the heart muscle and electrical system,

reducing the heart’s ability to pump. This reduction can lead to rapid or abnormal heart rhythms

in the short term, and long-term heart failure that limits exercise tolerance and the ability to

work.

        24.      Emerging evidence also suggests that COVID-19 can trigger an over-response of

the immune system, further damaging tissues in a cytokine release syndrome that can result in

widespread damage to other organs, including permanent injury to the kidneys and neurologic

injury. These complications can manifest at an alarming pace. Patients can show the first

symptoms of infection in as little as two days after exposure, and their condition can seriously

deteriorate in as little as five days or sooner.




with cardiovascular disease, 9.2% for diabetes, 8.4% for hypertension, 8.0% for chronic respiratory disease, and
7.6% for cancer”).

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        25.     Even some younger and healthier people who contract COVID-19 may require

supportive care, which includes supplemental oxygen, positive pressure ventilation, and in

extreme cases, extracorporeal mechanical oxygenation.

        26.     The need for care, including intensive care, and the likelihood of death, is much

higher from COVID-19 infection than from influenza. According to recent estimates, the fatality

rate of people infected with COVID-19 is about ten times higher than a severe seasonal

influenza, even in advanced countries with highly effective health care systems.7 For people in

the highest risk populations, the fatality rate of COVID-19 infection is about 15 percent.

        27.     Patients who do not die from serious cases of COVID-19 may face prolonged

recovery periods, including extensive rehabilitation from neurologic damage, loss of digits, and

loss of respiratory capacity.

        28.     There is no vaccine against COVID-19 and there is no known medication to

prevent or treat infection from COVID-19. Social distancing, or remaining physically separated

from known or potentially infected individuals, and vigilant hygiene, including washing hands

with soap and water, are the only known effective measures for protecting vulnerable people

from COVID-19.

II.     Incarcerated People and Staff in New York City Are Particularly Vulnerable

        29.     New York is currently at the epicenter of the coronavirus pandemic. On March

23, 2020, approximately six percent of confirmed coronavirus cases in the world were in New

York State. Governor Cuomo declared a state of emergency in New York State on March 7,

2020. Mayor DeBlasio declared a state of emergency in New York City on March 12, 2020.




7
  Betsy McKay, Coronavirus vs. Flu Which Virus is Deadlier, WALL ST. J. (Mar. 10, 2020, 12:49 PM)
https://www.wsj.com/articles/coronavirus-vs-flu-which-virus-is-deadlier-11583856879.

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         30.     As of March 27, 2020, there are 44,745 positive cases in New York State with

 more than 25,000 of those cases being in New York City. To date, there have been 519 deaths

 from COVID-19 just in New York, with 366 of those deaths in New York City. Ex. 2,

 Declaration of Jonathan Giftos, MD, dated March 27, 2020, ¶ 7 (Giftos Decl.”).

         31.     People in congregate environments, which are places where people live, eat, and

 sleep in close proximity, face increased danger of contracting COVID-19, as already evidenced

 by the rapid spread of the virus in cruise ships and nursing homes. People who are confined in

 prisons, jails, and detention centers will find it virtually impossible to engage in the necessary

 social distancing and hygiene required to mitigate the risk of transmission, even with the best-

 laid plans. The CDC also warns of “community spread” where the virus spreads easily and

 sustainably within a community where the source of the infection is unknown.

         32.     On March 20, 2020, Governor Cuomo took the strictest measure yet to fight the

 virus’s spread, issuing a “stay at home” executive order for all residents. In a statement to the

 public, Governor Cuomo explained that the order prohibits non-essential gatherings of any size,

 requires all non-essential businesses to close and 100 percent of their employees to work from

 home, and recommends that people stay at least six feet away from others. “We know the most

 effective way to reduce the spread of this virus is through social distancing and density reduction

 measures,” Governor Cuomo said.8

         33.     Correctional settings increase the risk of contracting an infectious disease, like

 COVID-19, due to the high numbers of people with chronic, often untreated, illnesses housed in




 8
  Governor Cuomo Signs the 'New York State on PAUSE’ Executive Order, New York State (Mar. 20, 2020),
 https://www.governor.ny.gov/news/governor-cuomo-signs-new-york-state-pause-executive-order.

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 a setting with minimal levels of sanitation, limited access to personal hygiene, limited access to

 medical care, and no possibility of staying at a distance from others. Giftos Decl. ¶ 11.

        34.     Correctional facilities house large groups of people together, and move people in

 groups to eat, do recreation, and go to court. They frequently have insufficient medical care for

 the population, and, in times of crisis, even those medical staff cease coming to the facility. Hot

 water, soap, and paper towels are frequently in limited supply. Incarcerated people, rather than

 professional cleaners, are responsible for cleaning the facilities and often are not given

 appropriate supplies. This means there are more people who are susceptible to getting infected

 all congregated together in a context in which fighting the spread of an infection is nearly

 impossible.

        35.     Outbreaks of the flu regularly occur in jails, and during the H1N1 epidemic in

 2009, many jails and prisons dealt with high numbers of cases. Giftos Decl. ¶ 12.

        36.     For this reason, correctional public health experts have recommended the release

 from custody of people most vulnerable to COVID-19. Release protects the people with the

 greatest vulnerability to COVID-19 from transmission of the virus, and also allows for greater

 risk mitigation for all people held or working in a prison, jail, or detention center. Release of the

 most vulnerable people from custody also reduces the burden on the region’s health care

 infrastructure by reducing the likelihood that an overwhelming number of people will become

 seriously ill from COVID-19 at the same time.




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         37.      Internationally, governments and jail and prison staff have recognized the threat

 posed by COVID-19 and released detainees. In Iran, for example, more than 70,000 people were

 temporarily released from jails to curb the spread of coronavirus.9

         38.      In the United States, the stimulus package that is on the verge of becoming law as

 of the time of this filing includes funding for federal prisons to purchase protective gear and test

 kits for COVID-19 and authorizes the Justice Department to lengthen the maximum amount of

 time that a prisoner can be placed in home confinement during the pandemic.10

         39.      On March 23, 2020, a bipartisan group of fourteen U.S. Senators sent a letter to

 U.S. Attorney General Barr and BOP Director Carvajal to express their “serious concern for the

 health and wellbeing of federal prison staff and inmates . . . especially those who are most

 vulnerable to infection.” The Senators wrote that they reviewed the BOP’s COVID-19 Action

 Plan, noting that it did not include any measures to protect the most vulnerable staff and inmates.

 The Senators urged DOJ and BOP to release to home confinement certain individuals who were

 elderly, ill, or incarcerated for non-violent offenses and are near release.

         40.      On March 26, 2020, Attorney General William Barr sent a memo to the Director

 of BOP “directing [him] to prioritize the use of [his] various statutory authorities to grant home

 confinement for inmates seeking transfer in connection with the COVID-19 pandemic.” The

 Attorney General specifically recognized that “there are some at-risk inmates who are non-




 9
  Iran Temporarily Releases 70,000 Prisoners as Coronavirus Cases Surge, Reuters (Mar. 9, 2020),
 https://www.reuters.com/article/us-health-coronavirus-iran/iran-temporarily-releases-70000-prisoners-as-
 coronavirus-cases-surge-idUSKBN20W1E5.
 10
   Todd Ruger, Prisons and Courts Get Coronavirus Help in Senate Relief Bill, Roll Call (Mar. 25, 2020, 2:21PM)
 https://www.rollcall.com/2020/03/25/prisons-and-courts-get-coronavirus-help-in-senate-relief-bill/.

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 violent and pose minimal likelihood of recidivism and who might be safer serving their sentences

 in home confinement rather than BOP facilities.”11

          41.      Senator Dick Durbin has called on the federal government to take action to

 protect staff and people detained in federal prisons. “Federal prisons will inevitably be a hotspot

 for the spread of coronavirus, especially among vulnerable staff and inmates,” Durbin said. “It is

 imperative for BOP to take immediate action to protect staff and inmates at federal prisons

 throughout the country and ensure that facilities are prepared to address this threat.”12

          42.      Some jurisdictions, including Los Angeles and Chicago, have already taken steps

 to protect people in custody from the impending spread of COVID-19 by releasing people in an

 effort to reduce populations.13

          43.      In New York City, public officials, the jail oversight board, and even doctors

 working at Rikers Island have acknowledged that the City’s jails are simply unsafe and releasing

 people is the only humane option.14 See Statement of New York City Board of Correction,




 11
   Memo from Attorney General to Director of Bureau of Prisons, March 26, 2020,
 https://www.politico.com/f/?id=00000171-1826-d4a1-ad77-fda671420000.
 12
   Durbin Discusses Coronavirus Threat At Federal Prisons With Council Of Prison Locals, Dick Durbin United
 States Senator Illinois (Mar. 24, 2020), https://www.durbin.senate.gov/newsroom/press-releases/durbin-discusses-
 coronavirus-threat-at-federal-prisons-with-council-of-prison-locals.
 13
   Thirty-one district attorneys from around the country put out a joint statement calling for a reduction in jail
 populations. Jurisdictions in California, Illinois, and Ohio have already released people from jail, and officials in
 Louisiana, Oregon, Pennsylvania, and Virginia have made announcements that they will begin releasing people
 soon. Other cities are putting plans in place to do the same. See, e.g. Allen Kim, Cities in the US Move to Lower
 Inmate Populations as Coronavirus Fears Grow, CNN (Mar. 16, 2020),
 https://www.cnn.com/2020/03/16/us/inmates-released-jail-coronavirus-trnd/index.html; Megan Cassidy,
 Coronavirus: San Francisco, Contra Costa Prosecutors Join National Call for Jail Releases, San Francisco
 Chronicle (Mar. 17, 2020) https://www.sfchronicle.com/crime/article/Coronavirus-San-Francisco-Contra-Costa-
 15137291.php.
 14
   See Ross MacDonald (@RossMacDonaldMD), Twitter (March 18, 9:51 p.m.)
 https://twitter.com/RossMacDonaldMD/status/1240455796946800641 (Dr. MacDonald is the Chief Medical
 Officer for Correctional Health Services (“CHS”), which provides healthcare to New York City’s Department of
 Corrections); Rachel Bedard, (@rachelbedard), Twitter (March 18, 8:34 a.m.)
 https://twitter.com/rachaelbedard/status/1240255196644741120 (Dr. Bedard is the Director of Geriatrics and
 Complex Care for CHS); Jonathan Giftos (@JonGiftosMD), Twitter (March 18, 10:37 p.m.)

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 March 17, 2020 (calling on the City to release people from criminal custody, prioritizing people

 over 50, those with underlying health conditions, detained for administrative reasons, and those

 who have been convicted and sentenced to one year or less).15 On March 20, 2020, Dr. Robert

 Cohen, a member of New York City’s Board of Correction, said, “The most important thing we

 can do right now is discharge all of the people who are old and have serious medical issues —

 those people are likely to die from a coronavirus infection.”16

         44.      Several doctors working in New York City’s jails have echoed the calls to release

 vulnerable people. Dr. Rachael Bedard, senior director of the geriatrics and complex care service

 at Rikers Island, has described depopulation as “[t] he only meaningful public health

 intervention.”17 In correctional facilities, “if you think about how many excess human contacts

 [there are], even compared to something like a shelter setting, you can imagine why viral spread

 in this environment is extra dangerous.”

         45.      Incarcerated people in New York City have already begun to test positive for

 COVID-19. Among the 5,200 people incarcerated by the New York City Department of

 Correction, seventy-five people in city custody have tested positive for coronavirus. This is a

 higher rate of infection than seen outside of detention facilities.




 https://twitter.com/JonGiftosMD/status/1240467288198873088 (until January 2020, Dr. Giftos was the Clinical
 Director of Substance Use Treatment for CHS).
 15
   New York City Board of Correction Calls for the City to Begin Releasing People from Jail as Part of Public
 Health Response to COVID-19 (Mar. 17, 2020),
 https://www1.nyc.gov/assets/boc/downloads/pdf/News/2020.03.17%20-
 %20Board%20of%20Correction%20Statement%20re%20Release.pdf
 16
   Jen Ransom and Alan Feuer, ‘A Storm Is Coming’: Fears of an Inmate Epidemic as the Virus Spreads in the Jails,
 N.Y. Times (March 20, 2020), https://www.nytimes.com/2020/03/20/nyregion/nyc-coronavirus-rikers-island.html.
 17
   Jennifer Gonnerman, A Rikers Island Doctor Speaks Out to Save Her Elderly Patients From the Coronavirus,
 New Yorker (Mar. 20, 2020), https://www.newyorker.com/news/news-desk/a-rikers-island-doctor-speaks-out-to-
 save-her-elderly-patients-from-the-coronavirus.

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            46.     As of March 26, 2020, four people in BOP custody in New York City, including

 one at the MDC, have tested positive.18 And the virus is spreading like wildfire across the

 population held on Rikers Island. Giftos Decl. ¶ 15.

            47.     Numerous people working in the criminal justice system have also tested positive,

 increasing the likelihood of exposure to and by incarcerated people: a security officer and an

 agent in the U.S. Attorney’s Office, SDNY; an NYC Department of Corrections investigator

 (who has since died from COVID-19)19; a lawyer with an office in Midtown Manhattan (and his

 wife and son)20; a healthcare worker in Manhattan; an attorney and legal intern in local New

 York State courts; and an attorney at the Brooklyn Supreme Court.21

            48.     Just this week, New York City pledged to release approximately 300 nonviolent

 inmates from Rikers Island. The Mayor intends to release people held on Rikers who are over 70

 years-old or who have preexisting conditions that place them at heightened risk from the virus.22




 18
   Covid-19 Coronavirus, Federal Bureau of Prisons, https://www.bop.gov/coronavirus/ (last accessed March 27,
 2020).
 19
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   Noah Higgins-Dunn, Coronavirus: New York City to Release 300 Nonviolent Inmates from Rikers Island, CNBC
 (Mar. 24, 2020, 7:25PM) https://www.cnbc.com/2020/03/24/coronavirus-new-york-city-to-release-300-nonviolent-
 inmates-from-rikers-island.html.

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          49.      Over the last several days, judges in this circuit and across the country have

 granted habeas petitions and ordered the release of persons who are incarcerated or being

 detained.23

          50.      On March 27, 2020, Governor Cuomo announced that the State of New York is

 immediately releasing 1,000 individuals confined on parole violations in state prisons and jails to

 supervised release in the community in order to stem the spread of coronavirus among

 incarcerated people.

          51.      Nonetheless, BOP continues to transfer people from facility to facility, ignoring

 the pleas of government officials and public health experts, and increasing the likelihood that the

 virus will be transmitted within the incarcerated population.24


 23
    See Coronel, et al., v. Decker et al., 20 Civ. 2472 (AJN) (S.D.N.Y. Mar. 27, 2020) (granting release of four
 petitioners with medical conditions that render them particularly vulnerable to severe illness or death if infected by
 COVID-19 from immigration detention); Basank et al. v. Decker et al., 20 Civ. 2518 (AT) (S.D.N.Y. Mar. 26, 2020)
 (granting release of ten petitioners who “suffer[] from chronic medical conditions, and face[] an imminent risk of
 death or serious injury in immigration detention if exposed to COVID-19” from immigration detention); U.S. v.
 Stephens, 15 Cr. 95 (AJN), 2020 WL 1295155 (S.D.N.Y. Mar. 19, 2020) (granting motion for reconsideration of
 defendant’s bail conditions and releasing him from jail to home confinement, recognizing inmates may be at a
 heightened risk of contracting COVID-19); Umana Jovel v. Decker et al., 20 Civ. 308 (GBD)(SN) (S.D.N.Y. Mar.
 26, 2020) (granting emergency request for release of petitioner from immigration detention in light of the COVID-
 19 crisis); People ex rel. Stoughton on behalf of Little et al. v. Brann, Index No. 260154/2020 (Sup Ct, Bronx
 County Mar. 25, 2020) (releasing 106 individuals held at Rikers Island jail on parole violations who are particularly
 vulnerable to illness or death if infected by COVID-19); People ex rel. Stoughton on behalf of Hogan et al. v. Brann,
 (Sup Ct, NY County Mar. 27, 2020) (releasing 16 individuals held at Rikers Island jail on pre-trial detention who
 were particularly vulnerable to illness or death due to COVID-19); Xochihua-Jaimes v. Barr, No. 18-71460 (9th Cir.
 Mar. 24, 2020) (ordering, sua sponte, that petitioner be immediately released from immigration detention “[i]n light
 of the rapidly escalating public health crisis” related to COVID-19); USA v. Garlock., No. 18 Cr 00418, 2020 WL
 1439980, at *1 (N.D. Cal. Mar. 25, 2020) (ordering, sua sponte, extension of convicted defendant’s surrender date
 and noting “[b]y now it almost goes without saying that we should not be adding to the prison population during the
 COVID-19 pandemic if it can be avoided”); Castillo et al. v. Barr, 20 Civ. 605 (C.D. Cal. Mar. 27, 2020) (ordering
 petitioners be released from immigration detention in light of COVID-19 and noting “the risk of infection in
 immigration detention facilities – and jails – is particularly high”); U.S.A.v. Matthaei, 19 Civ. 243 (D. Idaho Mar.
 16, 2020) (granting convicted defendant additional time to self-surrender to prison in light of defendant’s health
 problems, which place him at greater risk of complications of COVID-19); Jimenez et al. . Wolf et al., 18 cv 10225
 (D. Mass. Mar. 26, 2020) (ordering release of petitioner from immigration detention due to COVID-19 concerns); In
 re Request to Commute or Suspend County Jail Sentences, Dkt. No. 084230 (N.J. Mar. 22, 2020) (ordering, based
 on the dangers posed by COVID-19, release of any inmate in New Jersey serving a county jail sentence as a
 condition of probation or as a result of a municipal court conviction).
 24
   Luke Barr, Despite Coronavirus Warnings, Federal Bureau of Prisons Still Transferring Inmates: Sources, ABC
 News (Mar. 23, 2020, 1:22PM) https://abcnews.go.com/Health/warnings-bureau-prisons-transporting-inmates-
 sources/story?id=69747416.

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 III.    MDC is Failing to Take Proper Precautions, Placing People at an Increased Risk

         52.     The conditions at the MDC pose a heightened public health risk for the spread of

 COVID-19 that is even greater than in non-carceral institutions. People live and work in close

 quarters and cannot achieve the “social distancing” needed to effectively prevent the spread of

 COVID-19. They may be unable to maintain the recommended distance of 6.5 feet from others,

 and may share or touch objects used by others. Toilets, sinks, and showers are shared, without

 disinfection between each use. Food preparation and service is communal with little opportunity

 for surface disinfection. Staff arrive and leave on a shift basis, and there is limited ability to

 adequately screen staff for new, asymptomatic infection.

         53.     Since March 4, 2020, the Federal Defenders has engaged in extensive efforts to

 get the MDC to address the risks associated with the spread of COVID-19 at the MDC, to little

 avail. von Dornum Decl. ¶ 3-7, 9-11, 20, 21, 23.

         54.     The Federal Defenders initially requested that the BOP put in place the following

 measures at the MDC:

                 a.     Make public the MDC’s plans and policies for preventing a coronavirus

                        outbreak and responding to detained people who contract coronavirus;

                 b.     Put in place a comprehensive testing protocol for incarcerated people and

                        staff;

                 c.     Increase sanitation and hygiene in the facility, including increased cleaning

                        of the housing units and making soap and tissues freely available to

                        incarcerated people;

                 d.     Provide for isolating anyone who tests positive for the coronavirus at a

                        hospital or other medical facility, not at the jail;



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                 e.    Ensure that the jail is not locked down to social and legal visitors in

                       response to the epidemic sot that lawyers and family members can have

                       continued access to their clients and loved ones;

                 f.    Coordinate with the Courts and U.S. Attorneys’ Offices in advance to

                       ensure that only in extraordinary circumstances should any new arrestee be

                       detained at the jails during the epidemic, and no one should be admitted

                       without testing. von Dornum Decl. ¶ 4.

           55.   On March 11, 2020, for the first time, MDC officials responded to these concerns,

 when, at the request of the Chief Judge of the Eastern District of New York, Attorney Holly

 Pratesi and Associate Warden Andy Cruz attended a special meeting of the EDNY Facilities

 Security Committee focused on coronavirus issues. At that meeting Associate Warden Cruz

 indicated that the MDC was still receiving guidance from national BOP leadership as to how to

 handle the coronavirus epidemic. In response to specific questions, Associate Warden Cruz

 stated:

                 a.     the facility could not make public its plans or protocols for coronavirus

                        because of security considerations;

                 b.     there was no testing protocol in place, except for the temperature readings

                        of those people being brought to court (by order of the Chief Judge) and

                        the facility did not anticipate having a testing protocol;

                 c.     Staff were being asked to self-report if they had traveled to what were then

                        the designated hotspot countries or had been exposed to someone known

                        to have coronavirus;




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                 d.      It was unclear if staff who presented with risk factors and were sent home

                         would be on paid or unpaid leave, because that is a national BOP decision;

                 e.      the MDC had placed soap in the lobby bathroom for visitors, intended to

                         provide a bar of soap to each inmate and to ask the inmate orderlies to

                         increase cleaning, but could not provide hand sanitizer to inmates, and

                         neither staff nor visitors would be allowed to bring in hand sanitizer;

                 f.      the MDC did not yet know where any incarcerated person who tested

                         positive would be placed;

                 g.      the MDC did not believe it would be feasible to use the empty floors in the

                         East (or “old”) building of the MDC to house people who were

                         symptomatic or who tested positive;

                 h.      the MDC did not intend to do a lockdown on social or legal visitation;

                 i.      the MDC would continue to accept new arrests;

                 j.      the MDC would screen new arrests for symptoms of COVID-19 and

                         would ask newly arriving inmates if they had traveled recently outside the

                         United States;

                 k.      the MDC had no plans to move vulnerable inmates but would make an

                         effort to identify which inmates fell under the CDC’s definition of

                         vulnerable. Id. ¶ 6.

         56.      On March 13, 2020, the MDC cancelled all legal and social visitation for the next

 thirty days. Id. ¶ 8.

         57.     Beginning on March 14, 2020 and continuing through March 19, 2020, Federal

 Defenders spoke to over a hundred clients by telephone. The clients uniformly observed that:



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                a.      there had been no change in sanitation practices at the facility;

                b.      only some of the units had received the bars of soap;

                c.      education on the symptoms of COVID-19 or how to curb its spread is

                        limited to posters on the walls and a 10-minute presentation on each unit

                        to large groups of inmates that consisted of reading from a CDC pamphlet

                        that largely advised to “Stay at home” and “Avoid gatherings”;

                d.      no doctors came to the units to check on anyone;

                e.      inmates understand that staff are being given temperature checks as they

                        entered the facility, but staff on the unit were not wearing gloves, masks,

                        or other protective gear in the facility. Id. ¶ 9.

        58.     The MDC lacks adequate medical infrastructure to address the spread of

 infectious disease and treat the people most vulnerable to COVID-19.

        59.     Approximately 1,700 people are held at the MDC. The Warden of the MDC has

 identified 537 of these individuals as falling into the high-risk groups identified by the CDC. Id.

 ¶ 11(a).

        60.     New people arrive at the MDC from all over the world each week. These new

 arrivals are screened only for fever and recent travel to designated hotspot countries.

        61.     Correctional officers who live in New York, New Jersey, and Pennsylvania come

 in and out of the facility each day without sufficient medical screening. Staff being screened only

 for elevated temperatures as they entered the facility and sent home if they had a temperature

 over 100.4 degrees Fahrenheit based on a temporal thermometer. Id. ¶ 11(e).

        62.     Significantly, in a March 18, 2020 CDC report, an epidemiological investigation

 revealed that coronavirus-infected staff members contributed to the outbreak in a nursing home



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 facility with ineffective infection control and prevention and staff members working in multiple

 facilities.

 IV.     MDC Has Failed to React to Tests Confirming the Virus Is Within Its Walls

         63.    On March 21, 2020, the Federal Defenders learned that an inmate at the MDC had

 tested positive for COVID-19. Id. ¶ 12.

         64.    The inmate who tested positive had been housed on the “intake” unit on the 4th

 floor of the institution for approximately one week before testing positive. Id. ¶ 13. At the time

 the inmate was admitted to the institution he had been asymptomatic; he developed symptoms

 within three days of his admission. Id.

         65.    Between the time the inmate was admitted to the MDC and when he tested

 positive for COVID-19, he was in contact with many inmates and staff on the intake unit. Id.

 New inmates from other institutions who are in transit to their designated facilities were added to

 the intake unit on March 20, 2020, the day before the inmate on that unit tested positive. Id.

 Inmates from the intake unit, who would have been exposed to the positive inmate, were

 subsequently transferred into other units within the facility. Id.

         66.    Others who were housed on the unit with the individual who was recently

 diagnosed with coronavirus are now themselves showing symptoms, according to a person

 confined on that unit.

         67.    People housed in the MDC are terrified and panicked. Some are placing socks

 over the phone when they call family members to prevent infection from the phones, which are

 not sanitized or cleaned.

         68.    No professional or staff cleaners sanitized the intake unit where the inmate who

 tested positive had been housed, but, instead the inmate orderlies on the adjacent unit were sent



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 to clean the intake unit with the same cleaning supplies they regularly use and were provided

 insufficient gloves and masks. Id.

        69.     Staff is providing people with industrial hand soap in diluted form to “clean” their

 own cells.

        70.     Since, inmates have been directed by executive staff to report other inmates who

 they believed might be symptomatic, but, inmates were fearful of reporting their own or others’

 symptoms because they had heard that if you were symptomatic you would be placed in “the

 box.” Id.

        71.     Federal Defenders has not been informed how many inmates are symptomatic,

 quarantined or isolated, in addition to the inmate who tested positive. Id. ¶ 14.

        72.     As of March 27, 2020, the Federal Defenders have learned that four staff

 members at the MDC have tested positive and a number of others are symptomatic.

        73.     Despite the arrival of COVID-19 at the MDC, the MDC continues to implement

 practices that put inmates and staff at risk of contracting COVID-19. For example:

                a.      Female inmates continue to be asked to launder all inmate uniforms,

                        including from the intake unit, where the inmate tested positive. Id.

                        ¶ 16(a).

                b.      The phones and computers on the units are not being cleaned. Id. ¶ 16(c).

                c.      At mealtime, the inmates are directed to line up shoulder to shoulder. Id. ¶

                        16(d).

                d.      Inmates at the MDC are housed either in small two-man cells (designed to

                        hold a single inmate) with a single shared toilet and sink or in large open

                        dormitory units housing up to 70 inmates with shared toilets and sinks and



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                        sharing a large sleeping space and beds spaced only 3 to 5 feet apart. Id. ¶

                        26. Windows in the units do not open. Inmates cannot go outside.

                e.      No hand sanitizer is available to inmates at the MDC.

                f.      Tissues are not readily available. Inmates use toilet paper to blow their

                        noses. Each inmate is provided only one roll of toilet paper per week.

                g.      Each inmate is given one small bar of soap a week, at most. Some units at

                        the MDC have received no soap since the lockdown of the facility began

                        on March 13, 2020. Access to additional soap is limited to those inmates

                        who have sufficient commissary funds to purchase it, and dependent on

                        the commissary being open; it is routinely closed during lockdowns.

                h.      Inmates prepare all inmate meals. Meal preparation, with the exception of

                        kosher and halal meals, is performed in a single kitchen.

                i.      Inmates eat meals in large groups.

                j.      Inmates are responsible for sanitizing the housing unit common areas, and

                        frequently lack adequate cleaning supplies to do so.

        74.     Inmates have not been informed of the symptoms of COVID-19, or of how to

 prevent the spread of the infection except through posters on the walls of the units and general

 exhortations (delivered in groups) to wash their hands and practice social distancing. Id. ¶ 35.

        75.     Inmates who are at lower risk of becoming seriously ill from the virus are not

 separated from those who are at higher risk (because of age and/or pre-existing medical

 conditions). Instead, they are mixed together in small two-man cells and locked together in those

 cells for at least 10 out of every 24 hours.




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        76.     As of March 26, no doctors have come to the units. Medical only visit inmates if

 the inmates volunteer that they have symptoms. Id. ¶ 16(b).

        77.     The facility has not informed the inmate population of what the protocol will be

 for symptomatic inmates; absent a transparent protocol, inmates in correctional settings often

 fear they will be confined in solitary if they volunteer that they are symptomatic.

 V.     MDC is Not Prepared to Treat to Individuals Who Contract Coronavirus

        78.     Inmates who do contract COVID-19 are at higher risk for developing acute

 symptoms than if they were in the community, because the MDC lacks the medical resources to

 care for symptomatic inmates.

 79.    Now that COVID-19 is inside the facility, the MDC will be unable to stop the spread of

 the virus throughout the facility given long-documented inadequacies in BOP’s medical care and

 in light of how these facilities function. Giftos Decl. ¶ 14.

        80.     There is no separate medical unit or facility for ill inmates. Unlike many Federal

 Correctional Institutions and even Rikers’ Island, the MDC has no physical space in which an ill

 inmate can convalesce that is separate from other inmates, warm, clean and has access to fresh

 water and regular hand-washing. von Dornum Decl.¶ 41.

        81.     As of March 20, 2020, MDC had only 9 nasal swab COVID-19 test kits and only

 one inmate had been tested at the facility. Id. ¶ 11. MDC currently has no ventilators and cannot

 intubate inmates on-site. Id. ¶¶ 39, 40. MDC does not have any specialized equipment or medical

 providers. Id. ¶ 42.

        82.     There are only three doctors available at MDC to care for all 1,700 inmates. Id.

 Even this highly limited number is likely to decrease as doctors themselves go into quarantine.

 None of these doctors specialize in infectious diseases.



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         83.      People who contract COVID-19 can deteriorate rapidly, even before a test result

 can be received. They need constant monitoring. Most people in the higher risk categories will

 require more advanced support: positive pressure ventilation, and in extreme cases,

 extracorporeal mechanical oxygenation. Such care requires specialized equipment in limited

 supply as well as an entire team of specialized care providers. MDC does not have that

 specialized equipment or specialized providers.

         84.      MDC is already short-staffed.25 Now that three staff members have tested positive

 and several more are symptomatic, correctional officers are understandably hesitant to come to

 work. This staffing shortage will only increase as employees need to stay home to care for

 children whose schools are closed, elderly family members, and other personal health situations.

 With fewer staff, correctional officers are less able to monitor inmates’ health. Giftos Decl. ¶ 18.

 VI.     Petitioners Are Particularly Vulnerable

         85.      Petitioners in this case are individuals who are particularly vulnerable to serious

 illness or death if infected by COVID-19 who are currently detained at MDC.

         86.      Hassan Chunn. Mr. Chunn is 46 years old. Mr. Chunn has been incarcerated for

 approximately three years. He is due to be released on April 18, 2020. Mr. Chunn has been

 diagnosed with Coronary Heart Disease. As of 2005, he was diagnosed with chronic heart

 failure. He has two stents in his heart. He is pre-diabetic. He also suffers from high blood

 pressure, seizures, hypertension and high cholesterol. During his incarceration at MDC, he has

 been hospitalized on at least two occasions at outside hospitals for extreme high blood pressure.




 25
   “Review and Inspection of Metropolitan Detention Center Brooklyn Facilities Issues and Related Impact on
 Inmates,” OIG Report (Sept. 2019).

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 He takes a number of medications including Plavix, Losapril, Norvax, and Lipitor. Mr. Chunn is

 critically vulnerable to COVID-19 because of his significant health problems.

        87.     Nehemiah McBride. Mr. McBride is 34 years old. Mr. McBride has been

 incarcerated since December 17, 2019, and subsequently was sentenced to 4 months’

 incarceration. He is due to be released on April 16, 2020. Mr. McBride has been diagnosed with

 asthma, which is severe, and he suffers from respiratory problems. Mr. McBride is currently

 experiencing breathing problems and wheezing. Mr. McBride is critically vulnerable to COVID-

 19 because of his significant health problems.

        88.     Ayman Rabadi. Mr. Rabadi is 59 years old. Mr. Rabadi has been incarcerated for

 approximately 1 year, after being sentenced to 24 months for a wire fraud-related conviction of

 which he has served approximately 14 months. Mr. Rabadi has been diagnosed with a serious

 heart condition, anxiety and diabetes. Mr. Rabadi suffered a heart attack approximately six years

 ago, and thereafter he had several stents placed in his heart. He has a tumor on one of his kidneys

 which is being monitored via ultrasound. He takes medication for high blood pressure,

 cholesterol, and blood thinners. He also suffers from severe anxiety and depression. Mr. Rabadi

 is critically vulnerable to COVID-19 because of his significant health problems.

        89.     Justin Rodriguez. Mr. Rodriguez is 26 years old. Mr. Rodriguez is scheduled to be

 released on June 9, 2020. Mr. Rodriguez suffers from asthma. Mr. Rodriguez is critically

 vulnerable to COVID-19 because of his significant health problems. Mr. Rodriguez requested an

 inhaler from BOP staff but as of this filing has not received one.




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                                     LEGAL ALLEGATIONS

 I.      Section 2241 is an Appropriate Vehicle to Address Unconstitutional Conditions of
         Confinement

         90.     Section 2241(c)(3) authorizes courts to grant habeas corpus relief where a person

 is “in custody in violation of the United States.” The Second Circuit has “long interpreted § 2241

 as applying to challenges to the execution of a federal sentence, including such matters as . . .

 prison conditions.” Thompson v. Choinski, 525 F.3d 205, 209 (2d Cir. 2008) (internal quotation

 marks omitted). This includes challenges to detention where conditions pose a threat to

 Petitioners’ medical wellbeing. See Roba v. United States, 604 F.2d 215, 218–19 (2d Cir. 1979)

 (approving the use of Section 2241 to challenge a prisoner’s transfer where that transfer created a

 risk of fatal heart failure).

         91.     The Second Circuit’s decision in Roba is instructive. In that case, Petitioner

 alleged that an imminent transfer from New York to face charges in California would create a

 substantial risk of death because of his precarious heart condition. The Second Circuit held that

 there was Section 2241 jurisdiction to challenge his contemplated transfer, where such custody

 would threaten his life, citing Estelle v. Gamble, the Supreme Court’s seminal case establishing

 the Eighth Amendment’s deliberate indifference standard. 604 F.2d at 218–19. Critically, the

 court held that habeas jurisdiction was appropriate even though the transfer, and hence custody,

 was imminent: “Petitioner need not wait until the marshals physically lay hands on him; he is

 entitled now to challenge the allegedly unlawful conditions of his imminent custody.” Id. at 219.

         92.     In this case, the unconstitutional threat to Petitioners’ health and life posed by

 being held in Respondent’s custody is ongoing, not simply imminent. Every hour that Petitioners

 are held in the MDC, they are at a significantly elevated risk of contracting coronavirus, and

 because of their age and/or medical conditions, their risk of dying from coronavirus is


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 significant. For similar reasons, Judge Analisa Torres recently ordered the release of several

 individuals from federal immigration detention. See Memorandum and Order, Basank et al. v.

 Decker, et al., No. 20 Civ. 2518 (S.D.N.Y. March 26, 2020) (ECF No. 11).


 II.     Respondent Edge’s Failure to Take Steps to Mitigate Transmission of Coronavirus
         Constitutes Deliberate Indifference to the Serious Medical Needs of Plaintiffs

         93.      Respondent is violating Petitioners’ Fifth and Eighth Amendment rights by

 continuing to incarcerate them in conditions where it is virtually impossible to take steps to

 prevent transmission of an infectious disease that will prove deadly because of Petitioners’

 vulnerable condition.

         94.      All people held in the MDC, whether convicted or not, are entitled to be protected

 from condition of confinement that create a serious risk to health or safety, including through

 release from custody when necessary. Brown v. Plata, 563 U.S. 493, 531-32 (2011) (upholding

 lower court’s order releasing people from state prison even though release was based on prospect

 of future harm caused by prison overcrowding); see also Farmer v. Brennan, 511 U.S. 825, 834

 (correctional official violates Eighth Amendment by consciously failing to prevent “a substantial

 risk of serious harm”); Estelle v. Gamble, 429 U.S. 97, 104 (1976) (“deliberate indifference” to

 serious medical needs violate the Eighth Amendment).26 The risk of exposure to a deadly

 infectious disease such as COVID-19 constitutes a serious risk to health, particularly for the

 Petitioners and the vulnerable class members described herein. Helling v. McKinney, 509 U.S.

 25, 34 (1993) (noting with approval Eighth Amendment claims based on exposure to serious


 26
   Named Petitioners are convicted and therefore their treatment is governed by the Eighth Amendment. Class
 members who are detained for pretrial purposes, however, are protected from deliberate indifference by the Fifth
 Amendment. Although pretrial class members may be entitled to even greater protection from unsafe conditions
 than convicted class members, Bell v. Wolfish, 441 U.S. 520, 535 n.16 (1979) (“Due process requires that a pretrial
 detainee not be punished.”), for present purposes the distinction is immaterial because Respondent’s continued
 detention of the class plainly violates the Eighth Amendment.

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 contagious diseases). Under the MDC’s current conditions, Respondent has not and cannot

 protect Petitioners and the class from this risk of serious harm. In these circumstances, release is

 the only means of protecting Petitioners and the class they seek to represent from

 unconstitutional treatment.

        95.     Government officials act with deliberate indifference when they “ignore a

 condition of confinement that is sure or very likely to cause serious illness and needless suffering

 the next week or month or year,” even when “the complaining inmate shows no serious current

 symptoms.” Helling, 509 U.S. at 33. This Court need not “await a tragic event” to find that

 Respondent is maintaining unconstitutional conditions of confinement. Id. Instead, showing that

 the conditions of confinement “pose an unreasonable risk of serious damage to [Petitioners’]

 future health” is sufficient. Phelps v. Kapnolas, 308 F.3d 180, 185 (2d Cir. 2002) (quoting

 Helling, 509 U.S. at 35) (alteration omitted); see also Jabbar v. Fischer, 683 F.3d 54, 57 (2d Cir.

 2012) (incarcerated people “may not be exposed to conditions that pose an unreasonable risk of

 serious damage to [their] future health.”) (citation and internal quotation marks omitted).

        96.     The reach of the Fifth and Eighth Amendments includes “exposure of inmates to a

 serious, communicable disease.” Helling, 509 U.S. at 33; see also Jolly v. Coughlin, 76 F.3d 468,

 477 (2d Cir. 1996) (“[C]orrectional officials have an affirmative obligation to protect [forcibly

 confined] inmates from infectious disease”).

        97.     In this case, as established by the facts above, Petitioners face a significant risk of

 exposure to coronavirus, with the attendant risk of death that follows given their vulnerable

 conditions. Respondent is well aware of this risk, having been alerted to it by the CDC, the

 Attorney General, and advocates such as the Federal Defenders. Indeed, only last week the

 Second Circuit Court of Appeals, unprompted, acknowledged the “grave and enduring” risk



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 posed by COVID-19 in the correctional context. Fed. Defs. of New York, Inc. v. Fed. Bureau of

 Prisons, No. 19-1778, __ F.3d __, 2020 WL 1320886, at *12 (2d Cir. Mar. 20, 2020); see also

 Jovel v. Decker, No. 20 Civ. 308, 2020 WL 1467397, at *1 (S.D.N.Y. Mar. 26, 2020) (finding

 “extraordinary circumstances” of COVID-19 pandemic justified release of immigration detainee

 from federal detention); United States v. Little, No. 20 Cr. 57, 2020 WL 1439979, at *4

 (S.D.N.Y. Mar. 24, 2020) (“As additional people are arrested who have been out in the

 community as the coronavirus spreads, if they are not symptomatic, they will be brought into the

 MCC and MDC, and held with the existing population, potentially bringing COVID-19 into this

 population held in large numbers, close quarters, and low sanitary conditions.”)

        98.     Finally, as established above, Respondent has not taken steps sufficient to protect

 Petitioners from the grave risks that are present every moment they are in detention in the MDC.

 Respondent simply is not capable of managing the risk to Petitioners in the MDC’s current

 environment. Whether judged under the Fifth or Eighth Amendment, Respondent is holding

 Petitioners in violation of the Constitution by detaining them in the face of significant threats to

 their health and safety without taking sufficient steps to prevent that harm.

 III.   Next Friends Have Standing to Assert the Interests of Real Parties In Interest

        99.     Migdaliz Quinones is the life partner of Petitioner Ayman Rabadi and brings this

 action on his behalf to seek his release from custody. Ms. Quinones and Mr. Rabadi have known

 each other for 36 years.

        100.    Jacklyn Romanoff is the mother of Justin Rodriguez.

        101.    In the habeas context, a “next friend” may assert the interest of an incarcerated

 person so long as they have a sufficient personal connection to the real-party-in-interest and there

 are barriers that prevent the real-party-in-interest from asserting his rights directly. In Whitmore



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 v. Arkansas, 495 U.S. 149 (1990), the Supreme Court recognized that “next friend” standing “has

 long been an accepted basis for jurisdiction in certain circumstances,” usually “on behalf of

 detained prisoners who are unable, usually because of mental incompetence or inaccessibility, to

 seek relief themselves.” Id. at 162.

        102.    The requirement of inaccessibility is met here, where Petitioners Rabadi and

 Rodriguez cannot easily communicate with counsel because of the current lockdown at the

 MDC. See Warren v. Cardwell, 621 F.2d 319, 321 n.1 (9th Cir. 1980) (finding next friend

 standing met where petitioner “could not sign and verify the petition because the prison was

 locked down”) (internal quotation marks omitted); cf. Padilla v. Rumsfeld, 352 F.3d 695, 703 (2d

 Cir. 2003), rev'd and remanded on other grounds, 542 U.S. 426, 124 S. Ct. 2711, 159 L. Ed. 2d

 513 (2004) (holding that inaccessibility can be established when the petitioner is being held

 “incommunicado”).

        103.    The requirement of a close personal relationship is met here as well. See Smith ex

 rel. Missouri Public Defender Comm’n v. Armontrout, 812 F.2d 1050, 1053 (8th Cir.1987)

 (sufficiency of brothers' relationship for “next friend” standing undisputed); Hays v. Murphy,

 663 F.2d 1004, 1009 (10th Cir.1981) (no dispute that defendant's mother proper party to seek

 “next friend” action); see also Padilla, 352 F.3d at 703-04 (finding that attorney who had

 represented petitioner could serve as next friend).

                                CLASS ACTION ALLEGATIONS

        104.    Petitioners bring this representative habeas action pursuant to 28 U.S.C. § 2241

 and, alternatively, as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure

 on their own behalf and on behalf of all persons similarly situated.

        105.    Petitioners seek to represent a class consisting of all current and future detainees

 in custody at the MDC during the course of the COVID-19 pandemic (the “Class”).
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        106.       The members of the Class are too numerous to be joined in one action, and their

 joinder is impracticable. Upon information and belief, the class exceeds 1,700 individuals.

        107.       Common questions of law and fact exist as to all Class members and predominate

 over questions that affect only the individual members. These common questions of fact and law

 include but are not limited to: (1) whether the conditions of confinement described in this

 Petition amounts to Constitutional violations; (2) what measures Respondent took in response to

 the COVID-19 Crisis; (3) whether Respondent implemented an adequate emergency plan during

 the COVID-19 Crisis; (4) whether Respondent’s practices during the COVID-19 Crisis exposed

 people at the MDC to a substantial risk of serious harm; (5) whether the Respondent knew of and

 disregarded a substantial risk of serious harm to the safety and health of the Class; and (7) what

 relief should be awarded to redress the harms threatened to members of the Class as a result of

 the conditions.

        108.       Absent class certification, individuals detained at the MDC during the COVID-19

 pandemic would face a series of barriers in accessing the relief sought. The MDC has suspended

 visitation and MDC detainees have limited access to communication with the outside world,

 impeding their ability to obtain legal representation and pursue litigation. A large portion of the

 Class has limited educational backgrounds. And a significant percent of them suffer from

 physical or mental impairments.

        109.       Respondent’s practices and the claims alleged in this Petition are common to all

 members of the Class.

        110.       The claims of Petitioners are typical of those of the Class. Petitioners are

 threatened with imminent inhumane conditions of confinement at the MDC.




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        111.    The legal theories on which Petitioners rely are the same or similar to those on

 which all Class members would rely, and the harms suffered by them are typical of those

 suffered by all the other Class members.

        112.    Petitioners will fairly and adequately protect the interests of the Class. The

 interests of the Class representatives are consistent with those of the Class members. In addition,

 counsel for Petitioners are experienced in class action and civil rights litigation.

        113.    Counsel for Petitioners know of no conflicts of interest among Class members or

 between the attorneys and Class members that would affect this litigation.

        114.    Use of the class action mechanism here is superior to other available methods for

 the fair and efficient adjudication of the claims and will prevent the imposition of undue

 financial, administrative, and procedural burdens on the parties and on this Court, which

 individual litigation of these claims would impose.

        115.    This class action is superior to any other method for the fair and efficient

 adjudication of this legal dispute, as joinder of all Class members is impracticable.

        116.    There will be no extraordinary difficulty in the management of this class action.

                                   FIRST CAUSE OF ACTION
                               (Declaratory and Injunctive Relief for
                           Violation of the Fifth and Eighth Amendments)

        117.    Petitioners incorporate by reference each and every allegation contained in the

 preceding paragraphs as if set forth fully herein.

        118.    Petitioners bring this claim on their own behalf and on behalf of the Class.

        119.    The Due Process Clauses guarantees pretrial detainees the right to be detained in a

 safe situation, free from punitive conditions of confinement. See U.S. Const. Amend V. The

 government violates that guarantee where a widespread outbreak of a contagious disease subjects

 detainees to inhumane conditions without adequate protection.
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        120.    The Eighth Amendment guarantees post-conviction detainees the right to

 necessary and adequate medical care. See U.S. Const. Amend VIII. The Government’s failure to

 provide adequate medical care in response to a widespread outbreak of a contagious disease

 constitutes deliberate indifference to the serious medical needs of detainees, thereby establishing

 a violation of the Eighth Amendment of the United States Constitution.

        121.    Because of the conditions at the MDC, Petitioners are not able to take steps to

 protect themselves—such as social distancing, using hand sanitizer, or washing his hands

 regularly—and the government has not provided adequate protections. As COVID-19 rapidly

 spreads at the MDC in a matter of days, as experts predict, the already deplorable conditions at

 the MDC will be exacerbated, and the ability to protect oneself will become even more

 impossible.

        122.    Respondent’s failure to adequately protect Petitioners from these punitive

 conditions, or release them from the conditions altogether, constitutes an egregious violation of

 Petitioners’ due process rights and deliberate indifference to the serious medical needs of

 Petitioners, and all members of the Class, thereby establishing a violation of the Eighth

 Amendment of the United States Constitution.

        123.    Respondent was aware or should have been aware of these conditions, which

 were open and obvious throughout the entire jail.

        124.    Respondent knew of and disregarded an excessive risk to health and safety.

        125.    Respondent failed to act with reasonable care to mitigate these risks.

        126.    Because Respondent failed to act to remedy Petitioners’ and the Class’s degrading

 and inhuman conditions of confinement in violation of their Fifth and Eighth Amendment rights,

 Petitioners seek relief under this Writ of Habeas Corpus.



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        127.    Because of the unlawful conduct of Respondent, Petitioners and the Class are

 threatened with immanent physical injury, pain and suffering, emotional distress, humiliation,

 and death.

                                     PRAYER FOR RELIEF

 WHEREFORE, Petitioners and the Class members respectfully request that the Court enter a

 class-wide judgment:


        A.      Ordering immediate release of vulnerable persons, with appropriate precautionary

                public health measures, including Petitioner Chunn (scheduled to be released on

                4/18/2020); Petitioner McBride (scheduled to be released on 4/16/2020);

                Petitioner Rabadi (scheduled to be released on 7/19/2020); Petitioner Rodriguez

                (scheduled to be released on 6/9/2020); and all others confined at the MDC who

                Respondent has identified as medically vulnerable due to underlying health

                conditions or age (“Vulnerable Persons”)—and therefore at higher risk of

                developing serious COVID-19 illness;

        B.      Ordering Respondent to mitigate the serious risk of illness, death, and harm from

                COVID-19 to those who remain confined at the MDC;

        C.      Certifying this Petition as a Class Action;

        D.      Appointing a Special Master on an emergency basis to Chair a Coronavirus

                Release Committee to evaluate Vulnerable Persons and make recommendations

                for ameliorative action for other persons at the MDC; and

        E.      Ordering such other and further relief as this Court deems just, proper and

                equitable.




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  Dated:   New York, New York           EMERY CELLI BRINCKERHOFF
           March 27, 2020               & ABADY LLP

                                        By:    /s/ Katherine R. Rosenfeld
                                               Katherine R. Rosenfeld
                                               O. Andrew F. Wilson
                                               Samuel Shapiro
                                               Scout Katovich
                                               600 Fifth Avenue, 10th Floor
                                               New York, NY 10020
                                               (212) 763-5000

                                               CARDOZO CIVIL RIGHTS CLINIC
                                               Betsy Ginsberg
                                               Cardozo Civil Rights Clinic
                                               Benjamin N. Cardozo School of Law
                                               55 Fifth Avenue, 11th Floor
                                               New York, NY 1003
                                               (212) 790-0871

                                               Alexander A. Reinert
                                               55 Fifth Avenue, Room 1005
                                               New York, NY 1003
                                               (212) 790-0403

                                        Attorneys for Petitioners and Putative Class




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